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                         United States District Court
                                EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

  UNITED STATES OF AMERICA §
                                                §
                                                § CASE NUMBER 4:20CR212
  v.                             §


                                                §
  DEBRA LYNN MERCER-ERWIN (1) §
  KAYLEIGH MOFFETT (2) §


                                 SCHEDULING ORDER

        It is ORDERED:

                     I. PRETRIAL DISCOVERY AND INSPECTION

        A. Within five (5) days after the arraignment, or date of receipt of this order by

  the Defendant, whichever occurs first, the United States Attorney or Assistant United

  States Attorney prosecuting the case (hereinafter collectively "United States Attorney )

  and the Defendant's attorney shall confer; whereupon, the United States of America

 (hereinafter "the Government") shall:

        (1) Permit Defendant's attorney to inspect and copy or photograph any relevant
              written or recorded statements or confessions made by the Defendant, or
              copies thereof, within the possession, custody or control of the Government,
              the existence of which is known, or by the exercise of due diligence may
              become known, to the attorney for the Govern ent;

        (2) Permit Defendant's attorney to inspect and copy or photograph that portion
              of any written record containing the substance of any relevant oral statement
              made by the Defendant whether before or after arrest in response to
              interrogation by any person then known to the Defendant to be a Government
              agent;




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        (3) Permit Defendant's attorney to inspect and copy or photograph any recorded
              testimony of the Defe dant before a grand jury which relates to the offense
               charged;

        (4) Disclose to Defendant's attorney the substance of any other relevant oral
               statement made by the Defendant whether before or after arrest in response
               to interrogation by any person then known by the Defendant to be a
               Government agent if the Government intends to use that statement at trial;

        (5) Disclose to the Defendant any copy of the Defendant's prior criminal record,
               if any, as is within the possession, custody, or control of the Government, the
               existence of which is known, or by the exercise of due diligence may become
               known, to the attorney for the Government, including the Federal Bureau of
              Investigation Identific tion Sheet;

        (6) Permit Defendant's attorney to inspect and copy or photograph books, papers,
               documents, photographs, tangible objects, buildings or places, or copies or
               portions thereof, which are within the possession, custody or control of the
               Government, and which are material to the preparation of the Defendant's
               defense or are intended for use by the Government as evidence in chief at the
               trial, or were obtained from or belong to the Defendant;

       (7) Permit Defendant's attorney to inspect and copy or photograph any relevant
             results or reports of physical or mental examinations, and of scientific tests
             or experiments made in connections with the case, or copies thereof, within
             the ossession, custody or control of the Government, the existence of which
             is known, or by the exercise of due diligence may become known to the
             atto ney for the Government, and which are material to the preparation of the
             defense or are intended for use by the Government as evidence in chief at the
              trial;

       (8) Permit Defendant's attorney to inspect, copy or photograph any evidence
              within the ambit of Brady v. Maryland (evidence which might tend to
              exculpate Defendant, mitigate punishment, or impeach testimony which may
              be determinative of Defendant's guilt or innocence);

       (9) Disclose to Defendant's attorney evidence of the Defendant's other crimes,
              wrongs, or acts which although inadmissible to prove the Defendant's bad
              character the Government believes to be admissible for other pur oses,
              such as proof of motive, opportunity, intent, preparation, pl n, knowledge,
              identity or absence of mistake or accident, concerning the instant charge; and




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         (10) Disclose to Defendant's attorney a written summary of testimony the
               Government intends to use under Rules 702,703, or 705 of the Federal Rules
               of Evidence, during its case in chief at trial, including witness opinions, bases
               and reasons therefor, and the itnesses' qualifications.



         B. If, in the judgment of the United States Attorney, it would not be in the

  interests of justice to make any one or more disclosures set forth in paragraph "A" and

  requested by Defendant's counsel, the declination shall be in writing, directed to

  Defendant s counsel, and signed personally by the United States Attorney, specifying the

  types of isclosures that are declined. If the Defendant seeks to challenge the declination,

  Defen ant shall proceed pursuant to paragraph "C" below.

         C. If additional discovery or inspection is sought, Defendant's attorney shall

  confer with the appropriate United States Attorney within ten (10) days of the arraignment,
  or date of receipt of this Order by the Defendant, whichever occurs first, with a view to

  satisfying these requests in a cooperative atmosphere without recourse to the Court. The

  request may be oral or written and the United States Attorney shall respond in a like
  manner.

         D. In the event Defendant thereafter moves for additional discovery or

  inspection, Defendant's otion shall be filed within twenty (20) days after the arraignment,

  or date of receipt of this order by the Defendant, whichever occurs first. It shall contain:



         (1) the statement that the prescribed conference was held;
         (2) the date of said conference;
         (3) the name of the United States Attorney with whom conference as held; and
        (4) the statement that agreement could not be reached concerning the discovery
               or inspection that is the subject of Defendant's motion.



        The court cautions counsel that filing unnecessary motions may result in imposition

 of sanctions. Counsel are to present by motion only genuine issues actually in dispute

 which counsel are unable to resolve in conference.




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                  E. Upon Government's compliance with the provisions of paragraph "A" of this

  Order, the Defendant shall permit the Government to inspect and copy or photograph:



                  (1) Books, papers, documents, photographs, tangible objects, or copies or
                        portions thereof, which are within the ossession, custody, or control of the
                        Defendant and which the Defendant intends to introduce as evidence in chief
                                  at the trial; and

                  (2) Any results or reports of physical or mental examinations and of scientific
                        tests or experiments made in connection with the particular case, or copies
                        thereof, within the possession or control of the Defendant, which the
                        Defendant intends to introduce as evidence in chief at the trial or which were
                        prepared by a witness whom the Defendant intends to call at the tri l when
                        the results or eports relate to that witness' testimony.



                  F. Any duty of disclosure and discovery set forth in this Order is a continuing

  one.

                  G. Any disclosure granted by the Government pursuant to this Order of

  material within the purview of Fed.R.Crim.P. 16(a)(2) and 16(b) and Fed.R.Evid. 404(b)
  shall be considered as information requested by the Defendant and granted by the court.



                                             II. OTHER DEFENSES, OBJECTIONS AND REQUESTS
                 Pursuant to FED. R. Crim. P. 12(c), the Court requires that any defense, objection or

  request capable of determination without trial of the general issue1 be raised by written

      otion in the form required by Fed. R. Crim. P. 47. Any such motion shall be filed within

  30 days from date of this order, and the Government shall respond within 10 days after

  being served, unless the Court by separate order (e.g., an Order Setting Final Pre-Trial

  and Trial or similar order) establishes an explicit deadline for filing and responding to a
 particular type of motion. When specific deadlines established by separate court orde



                    These matteis include all matters listed in ULES 12(b), 12.1.12.2, 12.3.14,15 an 16, FED. R.CRIM. P.,.in include, williout limitation, (1) ef cts in institution of pros cution; (2) d fects in
 indictment or information; (3) u ression of evidence; (d) alibi; (S) insanit or mental conditio ; (6) defense ase on pu lic authorit ; (7) discovery; (S) ositions (9) selective or vin ictiv prosecution; (10)
 outrageou Governmental misconduct; (11) misjoinder; (12) re-in ictment dela ; (13) s ee trial; (14) reju ici l u licit ; (15) lack of personal jurisdiction; (16) Posse Comit tus Act, I8U.S.C. 1385; (17)
 recantation as defense to erjur ; (18) limitations; (19) ou le jeo ard ; (20) multiple entencing; nd (21) innminity. if Federal R les of Criminal Procedur , a f eral statute, or oilier order of the court
 esta lishes an rlier de dline than e tablishe i this order, the e rlier ea lin hall govern the parties.


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  conflict with general deadlines stated above, the separate order shall prevail and govern the

  parties.

                                          III. COMPLIANCE
         Failure to provide discovery and observe deadlines established in this order may

  result in imposition of sanctions. Failure to raise defenses or objections, or to make

  requests in accordance with Sections I and II shall constitute waiver thereof, but the court

  for cause shown may grant relief from the waiver.


  Signed this 7th day of January, 2021.




                                          UNITED STATES MAGISTRATE JUDGE




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